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                                                          DAVID PARKER and BIG BIRD HOLDINGS, LLC
                                                      7
                                                      8                                       UNITED STATES DISTRICT COURT
                                                      9                    CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
                                                    10
                                                    11    DAVID PARKER and BIG BIRD       )                                  Case No. SACV12-1994 DOC(ANx)
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                                                          HOLDINGS, LLC,                  )
                                                    12                                    )                                  PLAINTIFFS’ OBJECTIONS TO THE
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                                                                                          )                                  SUPPLEMENTAL DECLARATIONS OF
                                                    13              Plaintiffs,           )                                  JOHNNY CHUEH AND HSIUNG WEI
                                                                                          )                                  TSENG FILED IN SUPPORT OF
                                                    14         vs.                        )                                  DEFENDANT’S MOTION FOR SUMMARY
                                                                                          )                                  JUDGMENT
                                                    15    ALEXANDER MARINE CO., LTD,      )
                                                                                          )                                  Date: June 2, 2014
                                                    16    OCEAN ALEXANDER MARINE CENTER, )                                   Time: 8:30 a.m.
                                                          INC., OCEAN ALEXANDER SERVICES, )                                  Place: Courtroom 9D
                                                    17    L.L.C., and OCEAN ALEXANDER     )
                                                          MARINE YACHT SALES, INC.        )                                  Honorable David O. Carter
                                                    18                                    )
                                                                                          )
                                                    19                   Defendant.       )
                                                    20
                                                    21              Plaintiffs hereby object to the supplemental declarations
                                                    22    of     Johnny          Cheuh        and       Hsiung             Wei   Tseng   filed   in   support   of
                                                    23    defendant Ocean Alexander Marine Yacht Sales, Inc.’s motion for
                                                    24    summary judgment as follows:
                                                    25              1.        The      supplemental                declarations          attempt   to   introduce
                                                    26    new evidence in support of defendant’s motion without giving
                                                    27
                                                    28                                                               1
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                                                                                                                                        OBJECTIONS TO SUPPLEMENTAL
                                                                                                                                  DECLARATIONS FILED IN SUPPORT OF
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                                                      1   plaintiffs an opportunity to respond, and they are therefore
                                                      2   untimely.
                                                      3             2.        Both declarations are vague and ambiguous by use of
                                                      4   the phrase “it signed” in the statement “I signed a Declaration
                                                      5   in this lawsuit on May 6, 2014 and I declare that it signed
                                                      6   under penalty of perjury under the laws of the United States
                                                      7   America          and       that       the       statements           made      therein      are     true   and
                                                      8   correct.”
                                                      9             3.        The exhibits attached to the supplemental declaration
                                                    10    of Johnny Cheuh are illegible as filed.
                                                    11              4.        Paragraphs              6,      7,      8      and    10    of    the     supplemental
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                                                    12    declaration               of      Johnny          Cheuh           lack    foundation         and    personal
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                                                    13    knowledge regarding David Parker’s purported actions, knowledge
                                                    14    and state of mind.
                                                    15              5.        The         supplemental                     declaration         of     Johnny     Cheuh
                                                    16    demonstrates additional triable issues of fact by attempting to
                                                    17    contradict plaintiffs’ evidence relating to the importation of
                                                    18    the       subject            yacht,          the        adoption          of   the        subject    yacht’s
                                                    19    warranty, and defendants’ alter ego status.
                                                    20
                                                    21    Dated: May 20, 2014                                         ROBERTS & KEHAGIARAS LLP
                                                    22
                                                    23                                                      By:       /s/ Theodore H. Adkinson_____
                                                                                                                      Theodore H. Adkinson
                                                    24                                                                Attorneys for plaintiffs
                                                    25                                                                David Parker and Big Bird
                                                                                                                      Holdings, LLC
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